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                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY
                             CAMDEN VICINAGE

                                             MDL No. 2875
IN RE: VALSARTAN, LOSARTAN, AND
IRBESARTAN PRODUCTS LIABILITY                Honorable Robert B. Kugler,
LITIGATION                                   District Court Judge


This Document Relates to All Actions


     DEFENDANTS’ (PROPOSED) SURREPLY IN FURTHER OPPOSITION
TO MEDICAL MONITORING PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
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                                        INTRODUCTION

       Plaintiffs have had three years to develop a framework in support of their proposed medical

monitoring classes. Now, at the eleventh hour, they present a radically revised plan under the guise

of a reply brief. Plaintiffs’ newest arguments are as meritless as their prior ones. First, Plaintiffs’

new proposal for grouping proposed class members from different states is still incoherent and

unworkable. Second, their pivot to a new medical monitoring proposal comes far too late and

would prejudice Defendants. Third, the primary authorities upon which Plaintiffs rely are outliers,

and Plaintiffs misstate numerous medical monitoring standards. And, finally, Plaintiffs’ proposed

“Lifetime Cumulative Thresholds”—upon which their entire motion for class certification is

premised—remain unsupported by Plaintiffs’ own experts, let alone by science. For these reasons,

and those stated in Defendants’ Response brief, Dkt. 2012, the Court should deny the Medical

Monitoring Plaintiffs’ Motion for Class Certification.

                                           ARGUMENT

       A.      Plaintiffs’ New State Law Groupings Do Not Cure The Fundamental Defects
               That Preclude Class Certification.

       Plaintiffs try to salvage their unworkable medical monitoring classes by proposing—for

the first time—that the Court divide the Independent Claim Class and Remedy Class according to

whether states require: (1) “present physical injury”; (2) “a showing of subcellular injury”; or (3)

no injury at all. (Reply in Supp. of the Medical Monitoring Pls.’ Mot. for Class Cert., Dkt. 2059

[“MM Reply Br.”] at 7.) In so doing, Plaintiffs have effectively conceded that their entire motion

to certify medical monitoring classes was based on a false premise: that the “one arguably

meaningful difference” between the state laws is whether medical monitoring is an independent

claim or remedy. (Mem. of Law in Supp. of the Medical Monitoring Pls.’ Mot. for Class Cert.,

Dkt. 1750 [“MM Br.”] at 7 [emphasis added].) Because Plaintiffs waited for their reply brief to
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offer their new proposal, it is waived and should not be considered. See Szaloczy v. Kone Elevators

& Escalators, No. 3:20-cv-3815, 2021 U.S. Dist. LEXIS 121998, at *12 (D.N.J. June 29, 2021)

(“‘New arguments in the reply brief are waived.’”) (quoting Rivers v. Nat’l Ass’n of Letter

Carriers, Loc. 673, No. 15-cv-3070, 2016 U.S. Dist. LEXIS 11679, at *5 (D.N.J. Feb. 1, 2016)

(citing Anspach v. City of Phila., 503 F.3d 256, 259 (3d Cir. 2007))).

       Even if Plaintiffs’ latest proposal had been timely, it would still fail on the merits. Most

fundamentally, Plaintiffs do not explain how the essential element of subcellular injury—which

“require[s] competent expert testimony,” according to Plaintiffs’ own cited caselaw, Donovan v.

Philip Morris USA, Inc., 914 N.E.2d 891, 901 (Mass. 2011)—could possibly be proven on a class-

wide basis. Instead, Plaintiffs argue that they have “alleged” that “all members of the proposed

Class have suffered cellular damage and/or genetic harm by their exposure to NDMA and/or

NDEA[.]” (MM Reply Br. at 6 [emphasis added].) But Plaintiffs have the burden of showing that

the essential subcellular element can be proven with common evidence, see Wal-Mart Stores, Inc.

v. Dukes, 564 U.S. 338, 350 (2011) (“Rule 23 does not set forth a mere pleading standard. A party

seeking class certification must affirmatively demonstrate his compliance with the Rule[.]”), and

they have failed to do so. Rather, Plaintiffs rely upon the reports of David Madigan and Dipak

Panigrahy, neither of which supports Plaintiffs’ position. Specifically, the portions of Dr.

Madigan’s report cited by Plaintiffs purport to identify Lifetime Cumulative Exposure (“LCE”)

levels to NDMA and NDEA and the putative cancer risks associated with each level (see Madigan

Rep., Dkt. 1750-2, at 8-10), whereas the portion of Dr. Panigrahy’s report cited by Plaintiffs

addresses the purported biological plausibility that NDEA causes cancer through genetic changes

(see Panigrahy Rep., Dkt. 1750-3, at 163-64). Neither expert purports to identify LCE levels at

which individuals supposedly experience “cellular damage and/or genetic harm” (MM Reply Br.



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at 6), much less provide valid scientific support for such an opinion.

       Moreover, in those states that require a showing of cellular or subcellular damage,

Plaintiffs’ proposed medical monitoring classes would fail for the additional reason that they

would devolve into a series of mini-trials as to which class members have suffered “cellular

damage and/or genetic harm” and which have not. These additional individualized inquiries would

compound all of the predominance and ascertainability obstacles discussed in Defendants’

opposition brief (including the determination of what monitoring each putative class member

would receive absent alleged NDMA/NDEA exposure), confirming that Plaintiffs’ eleventh-hour

proposal is as deficient and unworkable as their original one.

       B.      The Court Should Reject Plaintiffs’ Attempt To Request New Relief.

       Plaintiffs acknowledge—as they must—that all medical procedures involve some risk. (See

MM Reply Br. at 12-13.) But Plaintiffs argue that the risks to class members posed by their

proposed medical monitoring regimen are outweighed by the potential benefits. (Id.) The opposite

is true as to many potential class members: the proposed medical monitoring regimen would put

their health at risk with no concomitant benefit. (See Chan Rep., Dkt. 2009-16, ¶¶ 48-55;

Teitelbaum Rep., Dkt. 2009-25, 24-25.) For example, the FDA estimates that exposure to radiation

from a CT scan increases the risk of death from cancer by about 1 in 2,000 patients. (See Chan

Rep. ¶ 85.) Similarly, Dr. Kaplan identified the risk of a perforated colon (which can be fatal)

during a colonoscopy at approximately 1 in 3,000 patients based on his years of experience.

(Kaplan Dep., Dkt. 2024-4, 48:8-21.1) By contrast, according to the FDA, the theoretical excess




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  Similarly, the United States Preventative Services Task Force estimates 5.4 perforations per
10,000 colonoscopies. See Final Recommendation Statement Colorectal Cancer: Screening,
available at https://www.uspreventiveservicestaskforce.org/uspstf/recommendation/colorectal-
cancer-screening (last accessed May 19, 2022).

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risk of developing cancer from exposure to NDMA in affected VCDs taken at the highest dose

every day for four years is 1 in 8,000. (See FDA News Release, May 2, 2019 “Laboratory analysis

of valsartan products,” Dkt. 2009-12.) For NDEA, FDA’s theoretical excess risk estimate is 1 in

18,000. (Id.) These risks demonstrate precisely why a “physician would not recommend the

medical monitoring procedure” for some class members, and why a proper assessment of the

medical necessity of the proposed medical monitoring would have to evaluated on a patient-by-

patient basis. Arch v. Am. Tobacco Co., 175 F.R.D. 469, 490 (E.D. Pa. 1997) (denying motion to

certify medical monitoring class because “the appropriateness of screening procedures would vary

from plaintiff to plaintiff”). Ultimately, the medical monitoring regimen that Plaintiffs have

proposed would subject putative class members to greater health risks than even FDA’s

conservative, theoretical, estimated, worst-case exposure to Defendants’ VCDs—all the more so

for putative class members who did not take the highest dose and/or who took the medications for

less than four years.

       Faced with these arguments, Plaintiffs essentially abandon Dr. Kaplan’s medical

monitoring plan, suggesting that the Court can craft an entirely different remedy after a class is

certified. (MM Reply Br. at 11-12.) Plaintiffs request this new relief for the first time in a reply

brief to their class certification motion. As a result, Defendants in this MDL have had no notice

and no opportunity to evaluate or respond to Plaintiffs’ new proposal because, until now, the sole

relief requested by Plaintiffs was in the form of Dr. Kaplan’s medical monitoring program. That

is the only requested relief at issue, and the Court should reject Plaintiffs’ prejudicial attempt to

ambush Defendants with a new proposal at the end of the class certification process.

       Plaintiffs’ new “certify now, figure out the details later” approach is not only untimely but

also contrary to the law. Plaintiffs cite Hardwick v. 3M Co., No. 2:18-cv-1185, 2022 WL 668339,



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at * 26 (S.D. Ohio Mar. 7, 2022) (applying Ohio law), for the proposition that the Court can

establish a “science panel” for the development of a monitoring program post-certification. But

without a sufficiently detailed explication of the injunctive relief being proposed, a court cannot

make an informed (much less reasoned) judgment on whether “injunctive relief . . . is appropriate

respecting the class as a whole.” Fed. R. Civ. 23(b)(2). As a result, “[a]t the class certification

stage, the injunctive relief must be described in reasonably particular detail such that the court can

at least ‘conceive of an injunction that would satisfy” Rule 65(d) (which governs injunctions), “as

well as the requirements of Rule 23(b)(2).” Shook v. Bd. of County Comm’rs, 543 F.3d 597, 605-

06 (10th Cir. 2008) (affirming denial of Rule 23(b)(2) class certification because “plaintiffs have

eschewed any effort to give content to what it would mean to provide adequate mental health staff,

adequate screening, or an adequate system for delivering medication”) (emphasis added). Indeed,

the Fifth Circuit recently vacated certification of a toxic exposure, medical monitoring class

because the description of the requested monitoring did not specify “the range or types of medical

monitoring the injunction would implement.” Prantil v. Arkema Inc., 986 F.3d 570, 581 (5th Cir.

2021) (district court’s reasoning that medical monitoring is an “iterative process . . . through which

‘a more complete understanding of the potential consequences of exposure is attained and

treatment plans are put into place’” was an abuse of discretion). In short, Hardwick—which is

currently the subject of a Rule 23(f) petition to the Sixth Circuit—is a clear outlier and should not

be followed.

       C.      Plaintiffs’ Misstate The Relevant Medical Monitoring Laws.

       Plaintiffs include new legal authority in their reply, but it is only insofar as it was not cited

in their previous briefing. In fact, apart from Hardwick, the only cases Plaintiffs cite certifying

medical monitoring classes are decades old, which is not surprising given the broad recognition in



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this circuit and beyond that medical monitoring claims are far too individualized for class

treatment. See Gates v. Rohm & Haas Co., 655 F.3d 255, 264 (3d Cir. 2011). Plaintiffs rely

primarily on In re Diet Drugs Prod. Liab. Litig., No. CIV.A. 98-20626, 1999 WL 673066 (E.D.

Pa. Aug. 26, 1999), which has been widely criticized and rejected by courts over the last two

decades. See, e.g., In re Fosamax Prod. Liab. Litig., 248 F.R.D. 389, 396 & n.8 (S.D.N.Y. 2008)

(noting that “[l]ower courts almost unanimously have rejected class certification in pharmaceutical

products liability actions, including those seeking medical monitoring for a heightened risk of

future injury, because the proposed class actions failed to satisfy many of Rule 23’s requirements”

and that Diet Drugs was a rare “exception”); Perez v. Metabolife Int’l, Inc., 218 F.R.D. 262, 274-

75 (S.D. Fla. 2003) (“Although it certified the class action, the court in the Diet Drugs case noted

significant manageability problems, stating that ‘[t]here exist individual issues which will be a

challenge to the court and the parties in resolving the class claims, including individual factual

issues and variance of applicable state law.’ This Court believes that these manageability problems

predicted and since encountered by that Pennsylvania District Court would only be magnified in

this case . . .”); In re Baycol Prod. Litig., 218 F.R.D. 197, 212 (D. Minn. 2003) (denying

certification of a medical monitoring class, finding Diet Drugs unpersuasive, and noting that

“Plaintiffs have not, however, sufficiently addressed how the Court would manage the class

through subclasses, nor have they sufficiently established what the subclasses would be and which

states would be grouped in which subclass. Plaintiffs cannot meet their burden of demonstrating

that class certification is superior.”); In re Propulsid Prod. Liab. Litig., 208 F.R.D. 133, 146-47

(E.D. La. 2002) (“It should be noted that at the time of the Diet Drugs certification order, the

plaintiffs had not briefed the issue of varying state law because they were proceeding under the

assumption that Pennsylvania law would apply to the entire class. The district court, therefore,



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ordered briefing on the issue of varying state law with the understanding that the court’s

certification order would be modified as required so as to create a number of subclasses based

upon the variance of . . . medical monitoring law . . . [However,] [c]onditional certification of a

class action involving multiple state laws without analyzing the effect of this variation on the

manageability of the trial is not permitted in the Fifth Circuit.”). This Court should follow the

overwhelming weight of authority rejecting the outdated approach of Diet Drugs.

       Plaintiffs also criticize Defendants for supposedly misstating the relevant medical

monitoring standards, but Plaintiffs’ critiques are themselves inaccurate, confirming the

unworkability of trying a medical monitoring class that implicates the complicated and disparate

laws of numerous states. By way of example:

   •   Plaintiffs argue that Arizona would recognize an independent claim for medical
       monitoring, relying on Burns v. Jaquays Mining Corp., 752 P.2d 28, 33 (Az. Ct. App.
       1987), but Burns addressed medical monitoring as a form of damages for a nuisance claim.
       As recognized by the Arizona Supreme Court in Quiroz: “Burns concluded that . . . the
       medical costs associated with monitoring the residents’ subclinical injuries was
       recoverable in the context of a nuisance claim. . . . The Family reads too much into Burns.
       The Family has never alleged that Reynolds created a nuisance. Perhaps more importantly,
       Burns did not address duty; it addressed damages.” Quiroz v. ALCOA Inc., 243 Ariz. 560,
       568-69 (2018).

   •   Relying on a twenty-year-old state trial court opinion, Plaintiffs argue Montana would
       recognize an independent claim for medical monitoring. See Lamping v. Am. Home Prods.,
       Inc., 2000 WL 35751402, at *1-2 (Mont. Dist. Ct. Feb. 2, 2000). A recent federal court
       interpreting Montana law, however, found Lamping unpersuasive because it “is more than
       twenty years old, is unpublished, has not been acknowledged by other Montana courts, and
       only recognized medical monitoring on that case’s specific facts.” In re Zantac (Ranitidine)
       Prod. Liab. Litig., 546 F. Supp. 3d 1152, 1164 (S.D. Fla. 2021).

   •   Plaintiffs state that “[t]he New Jersey Supreme Court has held that whether an injury arises
       from a toxic tort ‘in itself is not a distinguishing metric.’” (Pls.’ Reply at 7 n.10 (citing
       Sinclair v. Merck & Co., 195 N.J. 51, 71 (2008) (Long, dissenting) (“Ayers, Mauro, and
       Theer were toxic tort cases, but that factor, in itself is not a distinguishing metric.”).) This
       quote, however, was taken from the dissenting opinion, which rightfully acknowledged
       that New Jersey precedent on medical monitoring claims has been limited to the toxic tort
       context. The majority opinion of the court found that because plaintiffs could not prove a
       physical injury under the NJPLA, plaintiffs could not recover for medical monitoring


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       damages, with the court also noting that “environmental tort actions” are excluded from
       NJPLA actions. Compare See Ayers v. Twp. of Jackson, 525 A.2d 287, 298 (N.J. 1987)
       (medical monitoring expenses may be awarded based on risk of future disease caused by
       exposure to pollutants).

       These examples illustrate the widely divergent nature of state medical monitoring law

across the country. Moreover, Plaintiffs’ reply ignores the varying state laws governing the

substantive causes of action (e.g., negligence) underlying Plaintiffs’ proposed Remedy Class. In

short, Plaintiffs have failed to identify adequate support for their motion to certify unprecedented

nationwide medical monitoring classes.

       D.      Plaintiffs Cannot Overcome The Lack Of Support For Their Proposed LCTs.

       Finally, despite all their efforts to pivot and offer new proposa6ls, Plaintiffs, tellingly, are

still unable to explain the basis for their proffered “Lifetime Cumulative Thresholds.” As Plaintiffs

tacitly acknowledge, absent defined thresholds, they cannot overcome the controlling standard set

forth by the Third Circuit in Gates, 655 F.3d 255. (See MM Reply Br. at 8.) Yet, despite having

every opportunity to do so, neither Plaintiffs nor their proffered experts—Dr. Madigan and Dr.

Panigrahy—have ever disclosed how the purportedly “conservative” LCTs were calculated.

Madigan and Panigrahy did not author supplemental reports, and their general causation reports

are silent as to LCTs. Further, with regard to NDEA, both Madigan and Panigrahy have been

limited with regard to the opinions they are permitted to offer. (See Daubert Order 1, Dkt. 1958.)

Recognizing these limitations, Plaintiffs cite, for the first time, to other general causation experts—

Dr. Hecht and Dr. Lagana—in support of their medical monitoring claims. But Plaintiffs never

proffered either of these experts in support of their medical monitoring classes; nor do these experts

address the concept of LCTs in their prior reports or testimony. As a result, Plaintiffs cannot

properly rely upon Hecht or Lagana to support their proposed LCTs, or in connection with their

motion to certify medical monitoring classes more generally. Moreover, Defendants’ unchallenged


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experts, Dr. Ballman and Dr. Chodosh, both explain in detail why Plaintiffs’ LCTs are not

grounded in reliable science. (See Ballman Rep., Dkt. 2009-24, 12, 17; Chodosh Suppl. Rep., Dkt.

2009-26, ¶ 15.) If any scientific support existed for Plaintiffs’ LCTs, then Plaintiffs would have

presented it to the Court. Their silence speaks volumes.

                                         CONCLUSION

       For the foregoing reasons, as well as those set forth in Defendants’ Response Brief,

Plaintiffs’ motion for class certification should be denied.


Dated: May 20, 2022                           Respectfully submitted,

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